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IN THE UNITED STATES DISTRICT COURT gu eneugnisti.
FOR THE SOUTHERN DISTRICT OF IOWA —_—goijfHERNDISTRIGT OF UWA

Criminal No. 4:23-cr-142
UNITED STATES OF AMERICA,
INDICTMENT
Vv.
T. 18 U.S.C. § 1591(a)(1)

CARL DALE MARKLEY, . 18 U.S.C. § 1591(b)(1)
.18 U.S.C. § 1594(a)
Defendant. . 18 U.S.C. § 2251(a)

. 18 U.S.C. § 2251(e)
. 18 U.S.C. § 2252A(a)(5)(B)
. 18 U.S.C. § 2252A(b)(2)

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THE GRAND JURY CHARGES:

COUNT 1
(Sex Trafficking by Fraud and Coercion)

From a date unknown, but by no later than in or about 2004, and continuing
through a date unknown, but until at least in or about 2014, in the Southern District
of Iowa, the defendant, CARL DALE MARKLEY, attempted to and did, in and
affecting interstate commerce, knowingly recruit, entice, harbor, transport, provide,
obtain, and maintain, by any means a person, Victim #1, knowing and in reckless
disregard of the fact that means of fraud, coercion, and a combination of these means,
would be used to cause Victim #1 to engage in a commercial sex act.

This is a violation of Title 18, United States Code, Sections 1591(a)(1),

1591(b)(1), and 1594(a).
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THE GRAND JURY FURTHER CHARGES:

COUNT 2
(Sex Trafficking by Fraud and Coercion)

From a date unknown, but by no later than in or about 2005, and continuing
through a date unknown, but until at least in or about 2011, in the Southern District
of Iowa, the defendant, CARL DALE MARKLEY, attempted to and did, in and
affecting interstate commerce, knowingly recruit, entice, harbor, transport, provide,
obtain, and maintain, by any means a person, Victim #2, knowing and in reckless
disregard of the fact that means of fraud, coercion, and a combination of these means,
would be used to cause Victim #2 to engage in a commercial sex act.

This is a violation of Title 18, United States Code, Sections 1591(a)(1),
1591(b)(1), and 1594(a).

THE GRAND JURY FURTHER CHARGES:

COUNT 3
(Sex Trafficking by Fraud and Coercion)

From a date unknown, but by no later than in or about September 2008, and
continuing through a date unknown, but until at least in or about 2015, in the
Southern District of lowa, the defendant, CARL DALE MARKLEY, attempted to and
did, in and affecting interstate commerce, knowingly recruit, entice, harbor,
transport, provide, obtain, and maintain, by any means a person, Victim #8, knowing
and in reckless disregard of the fact that means of fraud, coercion, and a combination
of these means, would be used to cause Victim #8 to engage in a commercial sex act.

This is a violation of Title 18, United States Code, Sections 1591(a)(1),

1591(b)(1), and 1594(a).
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THE GRAND JURY FURTHER CHARGES:

COUNT 4
(Sex Trafficking by Fraud and Coercion)

From a date unknown, but by no later than in or about July 2016, and
continuing through a date unknown, but until at least in or about August 2020, in
the Southern District of Iowa, the defendant, CARL DALE MARKLEY, attempted to
and did, in and affecting interstate commerce, knowingly recruit, entice, harbor,
transport, provide, obtain, and maintain, by any means a person, Victim #4, knowing
and in reckless disregard of the fact that means of fraud, coercion, and a combination
of these means, would be used to cause Victim #4 to engage in a commercial sex act.

This is a violation of Title 18, United States Code, Sections 1591(a)(1),
1591(b)(1), and 1594(a).

THE GRAND JURY FURTHER CHARGES:

COUNT 5
(Sex Trafficking by Fraud and Coercion)

From a date unknown, but by no later than in or about 2017, and continuing
through in or about April 2023, in the Southern District of Iowa, the defendant,
CARL DALE MARKLEY, attempted to and did, in and affecting interstate commerce,
knowingly recruit, entice, harbor, transport, provide, obtain, and maintain, by any
means a person, Victim #5, knowing and in reckless disregard of the fact that means
of fraud, coercion, and a combination of these means, would be used to cause Victim
#5 to engage in a commercial sex act.

This is a violation of Title 18, United States Code, Sections 1591(a)(1),

1591(b)(1), and 1594(a).
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THE GRAND JURY FURTHER CHARGES:

COUNT 6
(Sex Trafficking by Fraud and Coercion)

From a date unknown, but by no later than in or about June 2019, and
continuing through a date unknown, but until at least in or about February 2023, in
the Southern District of Iowa, the defendant, CARL DALE MARKLEY, attempted to
and did, in and affecting interstate commerce, knowingly recruit, entice, harbor,
transport, provide, obtain, and maintain, by any means a person, Victim #6, knowing
and in reckless disregard of the fact that means of fraud, coercion, and a combination
of these means, would be used to cause Victim #6 to engage in a commercial sex act.

This is a violation of Title 18, United States Code, Sections 1591(a)(1),
1591(b)(1), and 1594(a).

THE GRAND JURY FURTHER CHARGES:

COUNT 7
(Sex Trafficking by Fraud and Coercion)

From a date unknown, but by no later than in or about December 2019, and
continuing through in or about April 2023, in the Southern District of Iowa, the
defendant, CARL DALE MARKLEY, attempted to and did, in and affecting interstate
commerce, knowingly recruit, entice, harbor, transport, provide, obtain, and
maintain, by any means a person, Victim #7, knowing and in reckless disregard of
the fact that means of fraud, coercion, and a combination of these means, would be
used to cause Victim #7 to engage in a commercial sex act.

This is a violation of Title 18, United States Code, Sections 1591(a)(1),

1591(b)(1), and 1594(a).
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THE GRAND JURY FURTHER CHARGES:

COUNT 8
(Sex Trafficking by Fraud and Coercion)

From a date unknown, but by no later than in or about 2021, and continuing
through in or about April 2023, in the Southern District of Iowa, the defendant,
CARL DALE MARKLEY, attempted to and did, in and affecting interstate commerce,
knowingly recruit, entice, harbor, transport, provide, obtain, and maintain, by any
means a person, Victim #8, knowing and in reckless disregard of the fact that means
of fraud, coercion, and a combination of these means, would be used to cause Victim
#8 to engage in a commercial sex act.

This is a violation of Title 18, United States Code, Sections 1591(a)(1),
1591(b)(1), and 1594(a).

THE GRAND JURY FURTHER CHARGES:

COUNT 9
(Sex Trafficking by Fraud and Coercion)

On or about August 25, 2021, in the Southern District of Iowa, the defendant,
CARL DALE MARKLEY, attempted to and did, in and affecting interstate commerce,
knowingly recruit, entice, harbor, transport, provide, obtain, and maintain, by any -
means a person, Victim #9, knowing and in reckless disregard of the fact that means
of fraud, coercion, and a combination of these means, would be used to cause Victim
#9 to engage in a commercial sex act.

This is a violation of Title 18, United States Code, Sections 1591(a)(1),

1591(b)(1), and 1594(a).
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THE GRAND JURY FURTHER CHARGES:

COUNT 10
(Sex Trafficking by Fraud and Coercion)

From a date unknown, but by no later than in or about January 2022, and
continuing through in or about March 2022, in the Southern District of Iowa, the
defendant, CARL DALE MARKLEY, attempted to and did, in and affecting interstate
commerce, knowingly recruit, entice, harbor, transport, provide, obtain, and
maintain, by any means a person, Victim #10, knowing and in reckless disregard of
the fact that means of fraud, coercion, and a combination of these means, would be
used to cause Victim #10 to engage in a commercial sex act.

This is a violation of Title 18, United States Code, Sections 1591(a)(1),
1591(b)(1), and 1594(a).

THE GRAND JURY FURTHER CHARGES:

COUNT 11
(Sex Trafficking by Fraud and Coercion)

From a date unknown, but by no later than in or about March 2022, and
continuing through in or about April 2028, in the Southern District of Iowa, the
defendant, CARL DALE MARKLEY, attempted to and did, in and affecting interstate
commerce, knowingly recruit, entice, harbor, transport, provide, obtain, and
maintain, by any means a person, Victim #11, knowing and in reckless disregard of
the fact that means of fraud, coercion, and a combination of these means, would be
used to cause Victim #11 to engage in a commercial sex act.

This is a violation of Title 18, United States Code, Sections 1591(a)(1),

1591(b)(1), and 1594(a).
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THE GRAND JURY FURTHER CHARGES:

COUNT 12
(Sex Trafficking by Fraud and Coercion)

From a date unknown, but by no later than in or about May 2022, and
continuing through in or about July 2022, in the Southern District of Iowa, the
defendant, CARL DALE MARKLEY, attempted to and did, in and affecting interstate
commerce, knowingly recruit, entice, harbor, transport, provide, obtain, and
maintain, by any means a person, Victim #12, knowing and in reckless disregard of
the fact that means of fraud, coercion, and a combination of these means, would be
used to cause Victim #12 to engage in a commercial sex act.

This is a violation of Title 18, United States Code, Sections 1591(a)(1),
1591(b)(1), and 1594(a).

THE GRAND JURY FURTHER CHARGES:

COUNT 13
(Sex Trafficking by Fraud and Coercion)

From a date unknown, but by no later than in or about July 2022, and
continuing through in or about March 2023, in the Southern District of Iowa, the
defendant, CARL DALE MARKLEY, attempted to and did, in and affecting interstate
commerce, knowingly recruit, entice, harbor, transport, provide, obtain, and
maintain, by any means a person, Victim #8, knowing and in reckless disregard of
the fact that means of fraud, coercion, and a combination of these means, would be
used to cause Victim #8 to engage in a commercial sex act.

This is a violation of Title 18, United States Code, Sections 1591(a)(1),

1591(b)(1), and 1594(a).
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THE GRAND JURY FURTHER CHARGES:

COUNT 14
(Sex Trafficking by Fraud and Coercion)

From a date unknown, but by no later than in or about August 2022, and
continuing through in or about April 2028, in the Southern District of Iowa, the
defendant, CARL DALE MARKLEY, attempted to and did, in and affecting interstate
commerce, knowingly recruit, entice, harbor, transport, provide, obtain, and
maintain, by any means a person, Victim #13, knowing and in reckless disregard of
the fact that means of fraud, coercion, and a combination of these means, would be
used to cause Victim #13 to engage in a commercial sex act.

This is a violation of Title 18, United States Code, Sections 1591(a)(1),
1591(b)(1), and 1594(a).

THE GRAND JURY FURTHER CHARGES:

COUNT 15
(Sex Trafficking by Fraud and Coercion)

From in or about November 2022, and continuing through in or about
March 2023, in the Southern District of lowa, the defendant,
CARL DALE MARKLEY, attempted to and did, in and affecting interstate commerce,
knowingly recruit, entice, harbor, transport, provide, obtain, and maintain, by any
means a person, Victim #14, knowing and in reckless disregard of the fact that means
of fraud, coercion, and a combination of these means, would be used to cause Victim
#14 to engage in a commercial sex act.

This is a violation of Title 18, United States Code, Sections 1591(a)(1),

1591(b)(1), and 1594(a).
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THE GRAND JURY FURTHER CHARGES:

COUNT 16
(Sexual Exploitation and Attempted Sexual Exploitation of a Child)

From in or about August 2020, and continuing through in or about
October 2020, in the Southern District of Iowa, the defendant,
CARL DALE MARKLEY, attempted to and did employ, use, persuade, induce, entice,
and coerce a minor, fifteen-year-old Minor Victim #1, to engage in sexually explicit
conduct for the purpose of producing any visual depiction of such conduct, knowing
and having reason to know that such visual depiction would be transported and
transmitted using any means and facility of interstate and foreign commerce and in
and affecting interstate and foreign commerce, and such visual depiction was
produced using materials that had been mailed, shipped, and transported in and
affecting interstate and foreign commerce by any means, including by computer, and
such visual depiction was transported and transmitted using any means and facility
of interstate and foreign commerce and in and affecting interstate and foreign
commerce.

This is a violation of Title 18, United States Code, Section 2251(a) and 2251(e).
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THE GRAND JURY FURTHER CHARGES:

COUNT 17
(Possession of Child Pornography)

From a date unknown, but by at least August 2020, to on or about
March 9, 2023, in the Southern’ District of Jowa, the defendant,
CARL DALE MARKLEY, knowingly possessed material that contained images of
child pornography, as defined in Title 18, United States Code, Section 2256(8)(A),
such images having been shipped and transported using any means and facility of
interstate and foreign commerce and in and affecting interstate and foreign
commerce by any means, including by computer.

This is a violation of Title 18, United States Code, Section 2252A(a)(5)(B) and
2252A(b)(2).

A TRUE BILL.

FOREPERSON

Richard D. Westphal
United States Attorney

By: 14 & )
Kyle J. Essley

Amy L. Jennings
Assistant United States Attorneys

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